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IN THE COURT OF COMMON PLEAS OF LANCASTER COUNTY, PA
                  CIVIL ACTION-LAW

                                      :
PRESTIGE FUND A, LLC, ET AL.,         : No. CI-24-06012
                  Plaintiffs,         :
v.                                    : Hon. Leonard G. Brown, III
                                      :
PARAMOUNT MANAGEMENT                  :
GROUP, LLC,                           :
              Defendant.              :
                                      :

    FOLLOW-UP DEPOSITION QUESTIONS FOR DENNIS REAM

     102. Why did you resign from Paramount in August 2024, as

identified in your answer to question 2?

ANSWER:

  I resigned for a few reasons. Once I was removed from Margo

(rebranded from PowerCoin) in approx. April 2024 I was in an uncertain

space with my future and my existing roles were no longer necessary. As

mentioned, when I returned at the end of 2022 after resigning, the intent
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was to serve in a leadership role within another Heller Capital company.

However, as Daryl Heller and Heller Capital began to have issues with

Prestige, it was clear that my future with another company was unlikely

going to develop. Additionally, the cash flow issues with Paramount and

Margo were not being solved by Daryl Heller, and the teams, along with

myself, were left with unanswered questions and/or empty promises

regarding funding.

     103. Of the cars identified in your answer to question 10, which ones

remained in Paramount’s possession as of August 2024?

ANSWER:

  I believe the Mercedes, Porsche and Chevrolet.

     104. Who purchased the company Ferrari identified in your answer

to question 10?

           a.     What was the justification for purchasing a company

                  Ferrari?

           b.     Where was the Ferrari purchased from and when?

           c.     Who drove it?

           d.     If Paramount still owns it, where is it?




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ANSWER:

  Paramount purchased the Ferrari for the a) purpose of arrangement

with Randall Leaman who drove it (company car existed with Randall

Leaman and Daryl Heller prior to my onboarding with Paramount) b)

I’m not sure where this was purchased from but believe it was years ago

and then traded in by Randall Leaman for another company car. d) To

my knowledge, Paramount does not still own this.

     105. What was the highest value of intercompany balance owed to

Paramount from Heller Capital identified in your answer to question 17?

           a.    What was the value of the balance in August 2024?

           b.    When was the balance generated?

           c.    What was its purpose?

           d.    Was the balance documented?

           e.    If so, how?

ANSWER:

  I’m not certain of its value in August 2024 but believe it had reached

approximately $30 Million. The balance began generating prior to my

arrival at Paramount. As noted previously, I do not presently recall a




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purpose being provided for all of these transfers to Heller Capital but

they were documented as ‘Heller Capital Pledge’.

     106. What was the highest value of intercompany balance owed to

Paramount from PowerCoin identified in your answer to question 17?

           a.    What was the value of the balance in August 2024?

           b.    When was the balance generated?

           c.    What was its purpose?

           d.    Was the balance documented?

           e.    If so, how?

ANSWER:

  I’m not certain of its exact balance in August 2024 but believe it had

reached approximately $14 Million. I believe the balance would have

been generated when PowerCoin was established in approximately 2020.

I believe it was documented as “Due to (or from) PowerCoin” or

“Intercompany Receivable PowerCoin.”

     107. What was the highest value of the RAW Receivable identified in

your answer to question 17?

           a.    What was the value of the receivable in August 2024?

           b.    When was the balance generated?


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           c.    What was its purpose?

           d.    Was the receivable documented?

           e.    If so, how?

           f.    If so, who has the documentation?

ANSWER:

  I’m not certain of its exact balance in August 2024 but believe it had

reached approximately $20 Million. I do not presently recall a purpose

being provided for the transfers other than it was considered a ‘loan’ or a

‘line of credit’ towards a project related to Daryl Heller’s cannabis

activities and would be paid back. I believe it was documented as a

‘RAW LOC’ but do not believe Paramount was provided any

documentation. I believe that would be found with Heller Capital.

     108. When was the Cypress portfolio sold as identified in your

answer to question 18?

           a.    For how much?

           b.    To whom?

           c.    How many ATMs?

           d.    Who was involved in the sale?




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ANSWER:

  I believe Cypress was sold in September 2024 to ‘Cash Depot’ but I am

not aware of the sale price. I believe this portfolio had approximately

7,000 - 8,000 merchant owned ATM’s and the sale was handled by Daryl

Heller and Randall Leaman.

     109. When was the PCI portfolio sold as identified in your answer to

question 18?

           a.    For how much?

           b.    To whom?

           c.    How many ATMs?

           d.    Who was involved in the sale?

ANSWER:

  I believe PCI was sold in November 2024 for approximately $5 Million

to Dave Barnone (uncertain of spelling). I’m not certain of the total

ATM’s but believe it’s greater than 1,000. I believe this sale was handled

by Daryl Heller and Randall Leaman.

     110. What was the basis for your estimate that Paramount had net

assets worth approximately $80-100 million in 2024, as set forth in your




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answer to question 19? Include in your answer the assets that contributed

to your estimate (e.g., ATMs, cars, property, cash holdings, etc.).

ANSWER:

   My basis was a simple calculation of approximate gross profit

generated monthly (approximately $1.5 Million) with a general

multiplier of 4-6x years which Daryl Heller believed Paramount could

obtain.

      111. What was the purpose of the transfers identified in your answer

to question 24?

             a.   Who authorized the transfers?

             b.   What is your estimate of the total value of all transfers

                  described in your answer to question 24?

ANSWER:

   I believe Daryl Heller would have authorized the transfers and as

noted above I believe this reached approximately $30 Million of total

transfers.

      112. What was the purpose of the transfers identified in your answer

to question 25?

             a.   Who authorized the transfers?


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           b.    What is your estimate of the total value of all transfers

                 described in your answer to question 25?

ANSWER:

  I believe Daryl Heller would have authorized the transfers and as

noted above I believe it reached approximately $14 Million.

     113. In response to questions 27 through 29, you stated that

Paramount remained profitable from 2021 through 2023. For each year

from 2021 through 2023, were Paramount’s profits from ATM transaction

revenue alone sufficient to cover its commitments to the Funds under the

MSAs?

           a.    If yes, explain why.

           b.    If no, explain why.

ANSWER:

  I am not familiar with the commitments to the Funds under the

MSA’s but profits from ATM transaction revenue would not be

sufficient to cover the ‘PE Payments’ Paramount was making to

Prestige’s monthly payment requests.

     114. In your answer to question 30, you stated that, in the second

quarter of 2024, “operating cash was being pulled by Daryl Heller.” How


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much cash was pulled and to where (e.g., to Heller personally, to Heller

Capital, other)?

            a.     What is “operating cash”?

            b.     What explanation did Daryl Heller provide for pulling

                   operating cash?

            c.     With regard to Daryl Heller pulling operating cash in the

                   second quarter of 2024, who, if anyone, at Paramount

                   raised concerns about that to you?

            d.     What was your response to Daryl Heller pulling

                   operating cash in the second quarter of 2024?

            e.     Did you ever speak to Daryl Heller about him pulling

                   operating cash from Paramount in the second quarter of

                   2024? If so, please describe that conversation. If not, why

                   not?

ANSWER:

   I believe there was approximately $6-8 Million pulled beginning in

February 2024 and more aggressively in Q2-Q3 2024. a) operating cash is

simply what Paramount (along with affiliates PowerQwest, First Regents

and Sharenet) is generating daily/monthly through its ATM transactions.


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b) based on my recollection, I believe Daryl Heller mentioned that these

payments were being made to bridge loan providers he had established

c) all accounting parties associated with cash raised concerns including

the accountant, controller and Vice President of Accounting and Finance

d) I believe my responses regarding these concerns was to reiterate what

Daryl Heller had explained to all of us, which was he would have cash

returning back to Paramount to refund the amounts being pulled e) yes, I

expressed concerned consistently to Daryl Heller and Randall Leaman

about the general cash flow issues and operating cash being depleted. I

initially escalated to Randall Leaman as CEO and then eventually

Randall also got intimately involved with discussions with Daryl. I do

not presently recall details but our conversations generally identified

how his pulling of cash was detrimental to the business, paying

Paramount vendors and maintaining Paramount and its affiliates

customer relationships. They also included reconciliations provided by

the Vice President of Finance and Accounting that broke down the cash

pulls Daryl was making and Paramount’s need for him to reimburse.

These discussions were taking place both with me and without me for




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many months and Daryl Heller’s answer was consistent that he would be

funding the reimbursements.

      115. Who is the “third party” identified in your answer to question

44?

ANSWER:

   I presently recall being made aware that there were daily amounts

being pulled automatically by a loan provider that Daryl Heller

established. I do not presently recall the identity of the lender. I do recall

that Paramount had a lender called “Square,” but do not know whether

that is the same third party identified in my answer to question 44.

      116. In your answer to question 44, you stated that you were “not

exactly sure of the details”; provide any details you know about the daily

sums being pulled by a third party from PowerCoin.

ANSWER:

   See answer to #115.

      117. In answer to question 53, you stated that Paramount issued

“monthly management fee invoices and general direction to send

payments by Daryl Heller” to Heller Capital. In response, you reiterate that




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these fees were for “managed services” Heller Capital provided. What

specific services was Heller Capital providing?

           a.     What explanation did Heller give for the general

                  payments he directed to Heller Capital?

ANSWER:

     As previously mentioned, Heller Capital provided Paramount with

managed services such as organizational management support, project

management support, human resources support, payroll support, legal

support and general leadership by Daryl Heller. I believe these services

were sent as an invoice each month or Paramount had an agreement for

this with Heller Capital. As previously mentioned, I do not recall

Paramount being provided with explanations for Heller’s transfers to

Heller Capital.

     118. In answer to question 55, you stated that Paramount did not

“receive[] a purpose” for payments issued to Heller Capital at Daryl

Heller’s direction and, in response to question 54, you stated that those

payments issued at Heller’s direction varied from $100k-$400k. Why did

you not request an explanation, invoice, or other documentation to

substantiate the propriety of these payments?


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ANSWER:

  Along with Randall Leaman, Steve Gernes, accounting team members

and others that were associated with cash flow, our team considered

Paramount’s cash to be ultimately controlled by Daryl Heller and took

his direction. As mentioned previously, all transfers were documented

as a ‘Heller Capital Pledge’. I was given a general description when I

initially began at Paramount as these were amounts required to generate

more investment income. As described in other responses, I did

generally raise questions and concerns to Randall Leaman and Daryl

Heller regarding transfers and deductions of funds out of Paramount.”

     119. What payments did Paramount issue to PowerCoin, as discussed

in your answer to question 56?

           a.    How often?

           b.    In what amount(s)?

ANSWER:

      As noted in response to question 57, I do not presently recall how

  often and for what amounts.




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     120. You stated in response to questions 57 and 58 that Daryl Heller

directed payments to PowerCoin “to cover immediate operating cash

needs.” Was Paramount ever reimbursed for those payments?

             a.   Were the payments memorialized in any documentation

                  (e.g., loan, note, contract)?

ANSWER:

   I believe Paramount was reimbursed for some but I’m not certain for

how much. I’m not presently aware of any documentation.

     121. In response to questions 62 and 63, you indicate you are not

aware of (1) anyone who received money on payroll who was not

performing work for Paramount, and (2) any non-Paramount employees

that benefited from Paramount meals, entertainment, and travel. Do you

know who from Paramount would be aware of the answers to these

questions?

ANSWER:

  I’m not presently certain but perhaps Daryl Heller.

     122. In response to question 67, you stated that you were on two

flights on Heller Capital private planes transporting large amounts of cash




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to Michigan for PowerCoin. Why was cash being transported that way and

how much cash was being transported?

            a.   What other places (besides Michigan), if any, were places

                 where bags of cash were flown? Describe what you know

                 about those flights and places.

            b.   What financial institution(s) received the deposits of cash

                 from the flight to Michigan and the flight(s) to any other

                 state?

ANSWER:

   Cash was transported this way and would have been directed by

Daryl Heller so that PowerCoin could have immediate access to the cash

that was de-cashed from the BTMs. I do not presently recall the

amounts. I am only aware of cash being flown to Michigan due to

PowerCoin’s bank, Citizens State Bank, being located outside of Detroit,

Michigan.

     123. Further related to your response to question 67, describe what

you observed on both of your flights to Michigan for PowerCoin. Please

include a description of who else was on the flight, who was present on

behalf of the receiving bank, and how long the trip lasted.


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ANSWER:

  Both flights were approximately 1 hour each way with approximately

1 hour on the ground. My first flight included PowerCoin’s EVP of

Finance, Brett Davis, and we experienced some extreme turbulence. The

second flight I was alone. I do not presently recall exactly who was on

the receiving end of both trips at the bank other than Maria (last name

unknown) being the PowerCoin contact.

     124. In response to question 80, you stated that there were “many

times machines were purchased throughout the year” as needed that you

were not involved with those purchases. Who was involved with those

purchases at Paramount?

ANSWER:

   I believe individuals from Paramount’s operations team, the

President, Steve Gernes, and CEO, Randall Leaman for different

situations.

     125. In response to question 81, you stated that you were “involved

with the purchase of machines for operational purposes,” and not the

purchase of ATMs for the Funds. What was the “purchase of machines for




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operational purposes,” and how was that different from the purchase of

ATMs for the Funds?

           a.    Further, based on your ATM purchasing experience, what

                 was the reasonable purchase price for a new ATM and

                 what was the reasonable purchase prices for a used

                 ATM?

ANSWER:

   I’m not aware of purchasing ATMs for the Funds. I’m stating that I

have only been involved with purchasing for operational purposes and

do not presently recall conversations about purchasing ATMs for the

Funds. The purchase prices varied based on the brand and type of

machine and how many cassettes (for holding bills) were included. The

machines were purchased through sales; or purchasing inventory for

sales or projected sales but I am not specifically familiar with purchasing

for the Funds. I would assist with getting better pricing occasionally

with a ‘year-end’ purchase but purchasing was not my direct

responsibility. The machines can vary dramatically based on the type

and model. A standard new retail machine could range between $2,500-

$5,000 when including installation and the amount of cassettes in the


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machines. While a new ‘FI’ machine could be $10,000+ based on the type

of unit and its level of security (some are in the wall, etc.). I would

estimate a used retail machine could be $500+ and a used FI machine

could be $5K but both could range based on condition, cassettes, model,

etc.

         126. In response to question 82, you stated that, “in the past,” you

saw bills of sale provided to the Funds for ATMs purchased. In response to

question 81, however, you also stated that you were not involved with the

purchase of ATMs for the Funds. When and why did you see these bills of

sale?

ANSWER:

       As mentioned, Daryl Heller would provide the data for the bill of

sales and the accounting team would copy/paste into a form and

distribute. I was previously involved in this process when I began at

Paramount but do not presently recall when it stopped. I may have been

included on the information Daryl Heller would provide but do not

presently recall being a part of the process for many years.




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     127. In response to question 84, you stated you “have not specifically

prepared” profit and loss statements. If you did not prepare profit and loss

statements, who did?

ANSWER:

   Paramount’s accounting team consisting of accountants, accounting

manager, controller and the Vice President of Finance and Accounting,

who did the preparation of financial statements through a standard

month-end process.

     128. In answer to question 88, you stated that you are not familiar

with Pathward. Pathward was the ISO sponsor bank for Paramount. With

that information, re-answer question 88.

ANSWER:

  I do not presently recall having communication with Pathward.

     129. In response to question 89, you stated that you communicated

with Urish, Popeck Accountants and Consultants regarding annual tax

returns and/or general tax matters but have “not been a part of that

communication for many years.” When did you start being a part of those

communications with Urish Popeck and when did you stop?




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ANSWER:

  I have communicated with Urish Popeck as noted in my response but

have not been communicating in regards to PowerCoin since, I believe,

when I left the companies in the beginning of 2022. PowerCoin created

their own management and executive team that I believe would have

handled all Urish Popeck communication, audit, and tax work.

     130. Did you ever provide the source documents Urish Popeck

needed to complete Paramount’s taxes?

ANSWER:

   I do not presently recall providing Urish Popeck directly with source

documents.

     131. Who else at Paramount who communicated with Urish Popeck

regarding Paramount’s taxes?

ANSWER:

   I believe the accountants, accounting manager, controller and Vice

President of Finance and Accounting would have all communicated with

Urish Popeck.

     132. Were you involved in the choice to retain Urish Popeck? If so,

when did Paramount retain Urish Popeck and how was that choice made?


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ANSWER:

   Yes, I was involved with the choice to retain Urish Popeck along with

Daryl Heller and Randall Leaman which I believe was in 2019-2020.

      133. Please identify any people at Urish Popeck with whom you or

someone on Paramount’s behalf communicated.

ANSWER:

   I can presently recall Kevin McGarry, Partner, and Brian Deutch,

Accounting Manager.

      134. Since you answered question numbers 90 through 93, were you

provided with the copy of the December 13, 2023 Letter under your

signature from Paramount to Zulfe Ali at Velerity Group (December 13

Velerity Letter)?

ANSWER:

   Yes.

      135. Do you recall seeing the December 13 Velerity Letter before it

was provided to you after you answered the prior deposition questions?

ANSWER:

   I do not presently recall this letter.




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     136. Do you recall the context and/or substance of the December 13

Velerity Letter?

ANSWER:

   I do not presently recall the context and/or substance of this letter.

     137. Is the December 13 Velerity Letter something you would have

written while carrying out your duties as CFO at Paramount?

ANSWER:

   No.

     138. Do you believe you wrote the December 13 Velerity Letter?

ANSWER:

  No.

     139. If you did not write the December 13 Velerity Letter, who did

and why was your signature affixed to it?

ANSWER:

  I’m not presently aware of who would have written it or why.

     140. Do you agree with the representation in the December 13

Velerity letter that revenue generated by ATMs was “adequate to

consistently support the preferred monthly distribution to Prestige Funds

based on income generated by the ATMs”?


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           a.    If yes, why?

           b.    If no, why?

           c.    What is the “preferred monthly distribution” referenced

                 in the December 13 Velerity Letter?

ANSWER:

  I cannot answer because I am not aware of what a ‘preferred monthly

distribution is’ along with the context behind the definition of ‘revenue

generated by ATMs’ for the purpose of the letter.

     141. In answer to question 98, you stated that “Paramount was

profitable through ATM operations for many years”; did the ATMs

generate enough profit to cover the payments owed by Paramount to the

Funds under the MSAs?

           a.    If not, further explain the basis for your answer to

                 question 98.

           b.    Was Paramount, even with this obligations to the Funds,

                 profitable overall?

ANSWER:

  Please see response to #113.




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       142. Who conducted the audit referenced in your answer to question

100?

              a.   When was the audit conduct?

              b.   Who was involved in the audit?

              c.   What was audited?

ANSWER:

  I do not know who, when and what regarding the audit. I was

referencing a comment made by Daryl Heller on a few occasions.

       143. What is the most number of ATMs that Paramount managed at

any point in time?

              a. When was that (month/year), to the best of your

       recollection?

ANSWER:

   I believe Paramount managed approximately 18,000 – 19,000 machines

at its peak. I do not presently recall specifically but believe it would be

early 2024.

       144. How many ATMs did Paramount manage in 2020?

ANSWER:




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   I do not presently recall an exact number but would estimate

approximately 5,000 machines.

     145. How many ATMs did Paramount manage in 2021?

ANSWER:

   I do not presently recall an exact number but would estimate

approximately 8,000 machines.

     146. How many ATMs did Paramount manage in 2022?

ANSWER:

   I do not presently recall an exact number but would estimate

approximately 10,000 machines.

     147. How many ATMs did Paramount manage in 2023?

ANSWER:

   I do not presently recall an exact number but would estimate

approximately 18,000 machines.

     148. How many ATMs did Paramount manage in 2024?

ANSWER:

  I do not presently recall an exact number but would estimate

approximately 18,000 machines.




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     149. What is the most number of ATMs that Paramount owned at

any point in time?

           a. When was that (month/year), to the best of your

     recollection?

ANSWER:

   I do not presently recall specifics but believe the most active

‘company owned’ machines would be approximately 10,000 in the

beginning of 2024. There were also approximately 3,000 to 4,000

machines in the warehouse. Paramount considered non-merchant owned

machines as ‘company owned’ but did not actually own them and they

were not reflected on the balance sheet. Separate from “company

owned” machines were machines that were merchant owned machines

with Paramount providing different levels of managed services.

     150. How many ATMs did Paramount own in 2020?

ANSWER:

   Subject to the definition of “company owned” explained in Answer

No. 149, I would estimate approximately 5,000.




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     151. How many ATMs did Paramount own in 2021?

ANSWER:

   Subject to the definition of “company owned” explained in Answer

No. 149, I would estimate approximately 8,000.

     152. How many ATMs did Paramount own in 2022?

ANSWER:

   Subject to the definition of “company owned” explained in Answer

No. 149, I would estimate approximately 10,000.

     153. How many ATMs did Paramount own in 2023?

ANSWER:

   Subject to the definition of “company owned” explained in Answer

No. 149, I would estimate approximately 10,000.

     154. How many ATMs did Paramount own in 2024?

ANSWER:

  Subject to the definition of “company owned” explained in Answer

No. 149, I would estimate approximately 10,000.




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      155. How many BTMs did Paramount own in 2024?

ANSWER:

   I do not presently recall an exact number but believe approximately

200 machines.

      156. How many BTMs did Paramount manage for the Funds?

ANSWER:

   I’m not aware of Paramount managing any BTM’s for the Funds.

      157. Where were the Fund BTMs operating?

ANSWER:

   I’m not aware of Paramount managing any BTM’s for the Funds.

      158. What was your understanding of Catapult and Golden Gate?

ANSWER:

   To my knowledge these entities were established to maintain BTM

assets.

      159. In response to your subpoena to testify, you produced P&Ls and

Balance Sheets covering 2020-2021, do you have more P&Ls and Balance

Sheets?

           a.       If not, why not?




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           b.    Where are the ones you produced from (e.g., your

                 computer, a flash drive, external hard drive, etc.)?

ANSWER:

  No, I do not have more documents. What I produced was what I found

in emails and my personal drive. I do not know why I would only have

these periods.

     160. Did you ever own an interest in Paramount?

           a.       If yes, how much (by percentage)?

           b.    Do you still own an interest?

           c.    If not, when did your interest end?

           d.    How did your interest end (e.g., purchased,

                 relinquished)? (If purchased, by whom and for what

                 amount?)

ANSWER:

  Yes, I was granted 5% during 2019 in a retention offer following my

resignation notice. I did not maintain any ownership interest following

my resignation in August 2024. My agreements were officially signed in

October 2024 where my interest was transferred to Heller Capital. The

amount of my interest was contingent on the future sale price of


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Paramount or equal to the valuation paid to other shareholders. We

deem that amount to be equal to zero following what has transpired with

the business of Paramount.

     161. Did Daryl Heller observe corporate formalities at Paramount?

           a. If yes, how?

           b. If no, in what ways?

ANSWER:

  To some extent. For example, I believe Paramount made the proper

filings, and would sometimes hold Board meetings. I do not presently

recall shareholder meetings. I do not presently recall corporate minutes

but there was generally a written record of the standard static agenda for

Board meetings that I believe Daryl Heller would manage in Microsoft

Planner which would include notes and deliverables for the team. As

described previously, there were some transfers I believe would have

been directed by Daryl Heller. Money that came in from Prestige, Heller

Capital, and other non-operating sources, which I believe was revenue

generated by Daryl Heller or Heller Capital entities, was placed in a

separate bank account that was controlled by Daryl. Team members,

including me, began to question the transfers in 2024 especially when



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cash started coming out of the Paramount account as autopayments for

substantial daily amounts and going to a third-party lenders. Also,

money was not coming back in to Paramount, which was stressing

operating cash flow and further being escalated to Daryl Heller. I was

not provided with a clear explanation and it is therefore unclear if there

was intermingling of funds. Daryl Heller told everyone that there was

not an issue and that he anticipated money coming in to Paramount. He

explained that the cash flow issues were his fault and apologized, but

assured Paramount that there was no reason for concern.

     162. Did Daryl Heller intermingle funds between Paramount and

other entities and/or himself?

           a. If yes, how?

ANSWER:

   See, Answer No. 161. As mentioned, there were many transfers and

intercompany transactions between different entities and Paramount

where I believe were at the direction of Daryl Heller.

     163. Did Daryl Heller use Paramount for purposes other than

Paramount business?

           a. If yes, how?


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ANSWER:

   See, Answer No. 161.

     164. What was your educational background and professional

experience before joining Paramount in 2016?

ANSWER:

  I have a BA in Accounting from Indiana University of Pennsylvania.

Prior to joining Paramount in 2016, I served as VP of Finance for a

company in the oil and gas industry. Prior to that I was a controller in

the publication industry and a senior accountant with a public electronic

manufacturer along with a major retail company

     165. What were your day-to-day responsibilities at Paramount when

you were in the position of CFO?

ANSWER:

   My day-to-day responsibilities at Paramount had changed

dramatically from when I was onboarded in 2016 to my final resignation.

Overall, it was always a very tactical role which included taking

direction from Randall Leaman as far as what my priorities would be

daily/weekly/monthly/etc. This ranged over the years from building

teams, developing operational databases, integrating ERP and financial



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reporting systems, creating process and procedures, working with

operations on optimizing profitability through cost savings, financial

analysis and human resources functions. I later served more as a mentor

and coach as Paramount began to hire VP roles for finance and

accounting while I moved my time to operations and Margo. My

position as CFO at Paramount was not a traditional CFO role. I was not

responsible for making financial decisions and was not responsible for

the financing activities of the business.

     166. Name all employees who worked in accounting at Paramount

from 2021 to 2024.

ANSWER:

   I do not presently recall all employees but do recall, Brandon Hall

(VP), Evan Leaman (Mgr), Elizabeth Foster (Controller), Alex Wilson (Sr

Acct), Evan Phelan (Acct), Betsy Hass(Controller), Vicki Casey (AP), Brett

Davis (VP), Shawn Ziegler (Controller), Ashley Boyer (Acct), Chris

Aruda (AR), Andrew Shaubach (Mgr), Asma Ahman (Sr Acct).

     167. Do you recall Paramount and/or PowerQwest and/or any other

affiliate of Paramount receiving money from Reliance Financial?




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           a.   If yes, what was your understanding of the purpose of the

                money from Reliance Financial?

           b.   Did you speak with Daryl Heller about the money from

                Reliance Financial? If so, describe that conversation. If

                not, why not?

           c.   How was the money from Reliance Financial secured and

                which entity(ies) or person(s) secured it? If entities, why

                were those entities selected?

ANSWER:

  I do not presently recall Paramount and/or PowerQwest and/or any

other affiliate of Paramount receiving money from Reliance Financial.

     168. Were you, or staff under you at Paramount, aware of the

monthly sums owed to the Funds?

           a.   If yes, what was your understanding of Paramount’s

                obligations to the Funds and how were those obligations

                funded by Paramount?

           b.   If no, why not?

           c.   If no, who was aware, and why were you, as CFO, not

                aware?


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ANSWER:

  Paramount’s accounting team took direction from Daryl Heller each

month to make payments to Prestige following their email that outlined

what was due. I believe that was the extent of Paramount’s involvement

in the monthly payments. As previously mentioned, I was not aware of

MSA’s or commitments as I believe these were managed and controlled

by Daryl Heller. Paramount’s teams were involved with the general

management of ATM’s and its day-to-day operations. My understanding

was that Prestige managed the funds and as represented on Paramount’s

balance sheet, Paramount did not show any obligation to the funds. To

my knowledge, this was established from the beginning of Paramount

and Prestige which was 5+ years prior to my onboarding and to my

knowledge many of the same procedures have been followed since the

inception before my time

     169. Did you represent to anyone, at any time, that ATM transaction

revenues alone were sufficient to cover the sums owed to the Funds?

           a.   If yes, to whom and when?

           b.   If yes, what was the basis for your representation?




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ANSWER:

  Not that I presently recall.

     170. Why did Paramount fail?

ANSWER:

  At the time of my resignation, Paramount had not collapsed.

However, as set forth above, there were issues with cash flow and no

satisfactory explanation as to why autopayments were being made to

lenders or why cash was not coming back in to the business. Although it

did not fail until after I left, the cash flow issues, automatic payments

and other cash outflows were unsustainable and presumably led to

Paramount’s failure shortly after I resigned.

     171. In your opinion, who would know where assets of Paramount,

Heller Capital, and Daryl Heller could be found?

ANSWER:

   As previously mentioned, I believe Daryl Heller would be the

individual to answer this.




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Dated: April 25, 2025                 McQUAIDE BLASKO, INC.


                                      By:
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                                 VERIFICATION

      The undersigned verifies that he is authorized to make this Verification on his

own behalf that the responses made in the foregoing Deposition Questions to Dennis

Ream are true and correct to the best of his knowledge, information and belief. The

undersigned understand that false statements herein are subject to the penalties of 18

Pa. C.S.A. § 4904, related to unsworn falsification to authority.


                                           ______________________________
                                           Dennis Ream



Dated: April 25, 2025
